                    Case 1:19-cv-10233-WGY Document 1 Filed 02/01/19 Page 1 of 10
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 Pro Se 1 (Rev. 09/16) Complaint for" Civil Case                                            !N CLER.KS OFFICE

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                              Plaintiff(.,)                                     )
 (Write the ji,!I name of each plaintiff who is filing this complaint.          )
 ff the names ofall the plaintiffs cannot fit in the space above,                       Jury Trial: (check one)      ~ s 0No
 please write "see attached" in the space and attach an additional              )
 page with theji11/ list a/names.)                                              )
                                  -v-                                           )

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~re..,eld&VI f IrtA IYI/J ·                 )
                               Defendanr(s)                                     )
 (Write the fi1!/ name of each defendant who is being sued. If the
 names of all the defendants cannot flt in the space above, please              )
 write "see attached" in the space and attach an additional page                )
 with the full list of names.)



                                                   COMPLAINT FOR A CIVIL CASE

 I.         The Parties to This Complaint
            A.        The Plaintiff(s)

                      Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                      needed.
                                Name                                     ~ e r:-1--ei..       t
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                                 Street Address                          _E____Q.: -130 X --3.J/_L._·'7~"1:__,f
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                                 State and Zip Code                       ;l,1 a s s q ~ u ·:s e 1--J--5- , ~ ,;i 1 3                                          c;
                                 Telephone Number                         I         ;V   4
                                E-mail Address


            B.        The Defendant(s)

                      Provide the information below for each defendant named in the complaint, whether the defendant is an
                      individual, a government agency, an organization, or a corporation. For an individual defendant,
                      include the person's job or title (if !mown). Attach additional pages if needed.




                                                                                                                                                          Page I of 5
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                     Defendant No. 1
                                Name
                                _Job or Title (if lcnown)
                                Street Address
                                City and County             / (o OD     pe,11 /I\ "3 "'-l [v-a_ ~
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                                State and Zip Code          CJl/o_s:hl1~±r----ir-- :p, ~ .          :2 0 SC 0
                                Telephone Number
                                E-mail Address (if known)


                     Defendant No. 2
                                Name
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code          IV] }q_. ·    o   ~1    10
                                Telephone Number
                                E-mail Address (if known)


                     Defendant No. 3
                                Name
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if known)


                     Defendant No. 4
                                Name
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if /mown)



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II.       Basis for Jurisdiction

          Federal courts are courts of limited jurisdiction Glimited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen ofone State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

           What is the basis for federal court jurisdiction? (check all that apply)
                  ~cleral question                  AC L vi M                      [gTh,ersity of citizenship   7' YQ, -s,·d~M-+T-ra~f'

           Fill out the paragraphs in this section that apply to this case.

          A.         If the Basis for Jurisdiction Is a Federal Question




                      I.        The Plaintiff(s)

                                a.          If the plaintiff is an in?i'vidual                 Be-r"k L/ Jl'e-...      f..f.21·11 1'i1tjc l:::-- DftI O•
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                                         / under the laws of the State of (name)                  '7
                                                                                                  --'------------------
                                            and has its principal place of business in the State of (name)




                                (Jfmore than one plaintiff is named in the complaint, attach an additional page providing the
                                same information for each additional plaintiff.)

                      2.        The Defenclant(s)

                                 a.         If the defendant is an individual
                                            The defendant, (name)                                                                      , is a citizen of
                                            the State of (name)
                                                                                        ____A___/-l'~~J;;-1'---------or is a citizen of
                                            (foreign nation)                                 7v--;-tt
                                                                                                                                                     Page 3. of 5
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                                    b.               If the defendant is a corporation
                                                 The defendant,                   (oome}        'Jt!L'il1 ~                                  q:;--u,_~ ,is incorpornted under
                                                 the laws of the State of (name)                                'v\J o..__sh ~~                                1 .. Q__ ~                       , and has its
                                                 pri1~ci.pal place of business in the State of (name)  ~ ~¼ 1. > r ~                   ~  n~o-1
                                                 Or IS mcorporated under the laws of (foreign nation).,-              -r1-, ,,,/,_,
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                                                 and has its principal place of business in (name) --fu. wk~ k                   W (j r lol . .
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                                    (If more than one defendant is named in the complaint, attach an additional page providing the
                                    same information for each additional defendant.)

                        3.          The Amount in Controversy

                                 The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                                stake-is more than $75,000, not counting interest and ~osts of court, because (exf1lai1;i): JJ A--/. ·_ ~ .J-,,,n..,
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III.      Statement of Claim

          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
          involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
          the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
          write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.
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IV.        Relief

           State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
           arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
           the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
           pun!t!ve or exemplary damages claimed, the amounts, and tl:ie reasons you claim y~u ar~ entitled to actu~I or.    r......
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V.        Certification and Closing

          Under Federal Rule of Civil Procedure I I, by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint: (I) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary suppo1i or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
          requirements of Rule 11.

          A.         For Parties V/ithout an Attorney

                     I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                     in the dismissal of my case.


                     Date of signing:
                                              :,~\).
                     Signature of Plaintiff
                     Printed Name of Plaintiff


          B.         For Attorneys

                     Date of signing:


                     Signature of Attorney
                     Printed Name of Attorney           -   _,._:.:._

                     Bar Number
                     Name of Law Firm
                     Street Address
                     State and Zip Code
                     Telephone Number
                     E-mail Address




                                                                                                                        Page 5 of 5
